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13

14                        UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16

17   MARCELLUS MCMILLIAN,                      Case No.: CV 19-2121-MWF(JCx)
18                                             The Honorable Michael W. Fitzgerald
           Plaintiff,
19                                             (OPP TO DEFS.’ MIL NO. 1)
20   vs.                                       PLAINTIFF MARCELLUS
                                               MCMILLIAN’S AMENDED
21                                             OPPOSITION TO DEFENDANTS’
     GOLDEN STATE FC LLC,                      MOTION IN LIMINE NO. 1 TO
22   AMAZON FULFILLMENT                        EXCLUDE EVIDENCE OF OTHER
     SERVICES, INC., AMAZON.COM                TERMINATIONS DURING LEAVES OF
23   SERVICES, INC., AMAZON.COM,               ABSENCE
     INC., and DOES 1 to 100, inclusive,
24                                             Date: June 28, 2022
           Defendants.                         Time: 8:30 a.m.
25                                             Dept.: 5A
26                                           1.Trial: June 6, 2022
                                             2.Time: 11:00 a.m.
27                                           3.Ctrm.: 5A
28



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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2     1. SUMMARY OF PLAINTIFF’S ARGUMENT
3         First, evidence of others being terminated while on a medical leave of absence, like
4    Plaintiff, Marcellus McMillian (“McMillian”), is admissible “me, too” evidence. “Me,
5    too” evidence is admissible to prove discriminatory intent. “It is clear that an employer’s
6    conduct tending to demonstrate hostility towards a certain group is both relevant and
7    admissible where the employer’s general hostility towards that group is the true reason
8    behind firing an employee who is a member of that group.” Johnson v. United Cerebral
9    Palsy/Spastic Children’s Foundation 173 Cal.App.4th 740, 765 (2009); Pantoja v. Anton
10   198 Cal.App.4th 87, 113 (2011), citing Heyne v. Caruso 69 F.3d 1475 (9th Cir. 1995).
11        Second, “Me, too” evidence establishes punitive damages, and is admissible for that
12   reason as well. Evidence that other employees have experienced similar misconduct, and
13   whether the conduct is company-wide and a conscious disregard for the law, are relevant
14   to plaintiff’s claim for punitive damages. The California Supreme Court and the United
15   States Supreme Court both hold that, to determine reprehensibility on a punitive damages
16   claim, a trial court “must” consider whether “the conduct involved repeated actions or was
17   an isolated incident.” State Farm Mutual Auto Ins. Co. v. Campbell 538 U.S. 408, 409
18   (2003); Roby v. McKesson Corporation 47 Cal.4th 686, 713 (2009). Each court held,
19   “Reprehensibility of the defendant’s conduct is the most important indicium of the
20   reasonableness of a punitive damages award.” State Farm at 419 (emphasis added); Roby
21   at 713; Gober v. Ralphs Grocery Co. 137 Cal.App.4th 204, 219 (2006) (employment
22   harassment and discrimination).
23        Third, it is an abuse of discretion to exclude “me, too” evidence: Intent is an element
24   of a discrimination claim. Johnson v. United Cerebral Palsy/Spastic Children’s Foundation
25   173 Cal.App.4th 740, 765 (2009). “Me, too” evidence therefore is “highly probative”
26   because of the inherent difficulty of proving a statement of mind. Id.
27        Fourth, “Me, too” evidence makes discriminatory intent more likely. All relevant
28   evidence is admissible. Relevant evidence is evidence that has any tendency to make a fact


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1    more or less probable than it would be without the evidence, and is a fact of consequence
2    determining the action. Fed. Rules Evid. 401. Simply put, evidence that a defendant
3    discriminated against another similiarly situated employee makes it more likely that the
4    defendant habored the same intent in both instances. McCoy v. Pacific Maritime Ass’n 216
5    Cal.App.4th 283, 298 (2013) (trial court should have admitted evidence that other
6    employees were retaliated against after they complained of discrimination). Other claims
7    involving a “pattern and practice” of discrimination are relevant to an individual case of
8    discrimination. Lowery v. Circuit City Stores, Inc. (4th Cir. 1998) 158 F.3d 742.
9          Fifth, the same actors are not necessary for “me, too” evidence to be admissible.
10   The Supreme Court rejected arguments that the testimony of other victims of
11   discrimination who did not work under the same supervisor as plaintiff is per se
12   inadmissible. Sprint v. Mendelsohn 552 U.S. 379 (2008) . Also, Conway v. Electro Switch
13   Corp. 825 F.2d 593, 596-597 (1st Cir. 1987), held: [E]vidence of a corporate state-of-mind
14   or a discriminatory atmosphere is not rendered irrelevant by its failure to coincide
15   precisely with the particular actors or timeframe involved in the specific events that
16   generated a claim of discriminatory treatment. Id. at 597-598.
17         Sixth, Defendants “character evidence” argument has no merit, and the evidence is
18   not in any way character evidence, nor is it being introduced as such. “Me, too” evidence
19   is not character or propensity evidence: McCoy, Pantoja, and Johnson all considered and
20   rejected the argument that “me, too” evidence is “character” or “propensity” evidence.
21   Johnson at 766; Pantoja at 114; McCoy at 298.
22         Finally,“Me, too” evidence is not prejudicial under FRE Rule 403, and rather, is
23   evidence that is highly probative . Obrey v. Johnson 400 F.3d 691 (9th Cir. 2005) ;
24   Pantoja, supra; Johnson, supra; McCoy; supra. For the reasons above and as detailed
25   herein, this motion in limine must be denied.
26   ///
27   ///
28   ///

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1     2. ARGUMENT
2           A. Evidence of Others Being Terminated While Out On Medical Leave
3              “Me, Too” Evidence That is Admissible to Prove Discriminatory
4              Intent.
5           All relevant evidence is admissible. Relevant evidence is evidence that has any
6    tendency to make a fact more or less probable than it would be without the evidence; and
7    the fact is of consequence in determining the action. Fed. Rules of Evid. 401. Evidence
8    of other employees being terminated while on medical leave, just like McMillian was, is
9    admissible “Me, Too” evidence. An employer’s conduct tending to demonstrate hostility
10   toward a certain group is both relevant and admissible where the employer’s general
11   hostility toward that group is the true reason behind firing an employee who is a member
12   of that group. Johnson, 173 Cal.App.4th at 765; Pantoja, 198 Cal.App.4th at 113, citing
13   Heyne, 69 F.3d 1475.
14            (1) “Me, Too” Evidence is Highly Probative of Defendants’ State of
15                  Mind.
16          Intent is an element of a discrimination claim. Pantoja. “Me, too” evidence therefore
17   is “highly probative” because of the inherent difficulty of proving a state of mind. Id.
18   Federal Rules of Evidence section 404(b) deems that evidence may be admissible for
19   purposes such as proving motive, opportunity, intent, preparation, plan, knowledge,
20   identity, absence of mistake, lack of accident. Such “me, too” evidence is highly probative
21   to demonstrate Defendants’ termination of McMillian while on medical leave was not a
22   mistake or accident like they allege it was, and rather, that McMillian’s termination was
23   intentional, and motivated by discriminatory evidence.
24            (2) It is an Abuse of Discretion to Exclude “Me, Too” Evidence.
25          Johnson held that it was abuse of discretion for the trial court (ruling on summary
26   judgment) to exclude evidence that other employees were fired after they became
27   pregnant. Johnson, supra, at 765.1 Likewise, Pantoja held that it was abuse of discretion
28
        1
            A plaintiff need not have personal knowledge of the “me, too” evidence for it to be admissible.
                                                 -3-
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1    to exclude evidence that the defendant touched women other than the plaintiff without
2    those women’s consent and made sexist remarks in the workplace. The court held that
3    such evidence was probative of bias, which in turn was relevant to the defendant’s intent
4    in taking an adverse employment action against the plaintiff. Pantoja at 113.2 Similarly,
5    excluding evidence of other employees being terminated while on medical leave would
6    also be an abuse of discretion.
7               (3) “Me, Too” Evidence Makes Discriminatory Intent More Likely.
8            As stated above, relevant evidence is evidence that has any tendency to make a fact
9    more or less probable than it would be without the evidence; and the fact is of consequence
10   in determining the action. Fed. Rules of Evid. 401. Simply put, evidence that a defendant
11   discriminated against another similiarly situated employee makes it more likely that the
12   defendant habored the same intent in both instances. McCoy, supra, 216 Cal.App.4th at
13   298 (trial court should have admitted evidence that other employees were retaliated against
14   after they complained of discrimination). Thus, this evidence is admissible for this reason
15   as well.
16              (4) “Me, Too” Evidence Is Not “Character” or “Propensity” Evidence.
17           McCoy, Pantoja, and Johnson all considered and rejected the argument that “me,
18   too” evidence is “character” or “propensity” evidence. Johnson at 766; Pantoja at 114;
19   McCoy at 298. Thus, this evidence is not inadmissible under Federal Rules of Evidence
20   Rule 404.
21           B. Evidence of Defendants’ Previous Acts is Also Relevant to Show
22              Defendants’ Corporate State of Mind and Biases, Even When the Acts
23              Were Committed By Other Supervisors.
24           Evidence of other similarly situated employees being terminated while on a medical
25   leave of absence is relevant and admissible, regardless of whether or not it involves the
26
     Johnson, supra, at 765.
27
         2
           Such evidence should also be admissible as “rebuttal” testimony in appropriate circumstances.
28   Pantoja, supra, at 113.

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1    same supervisors as with the plaintiff involved. See Sprint, supra, 552 U.S. 379. The
2    court in Conway, supra, 825 F.2d at 596-597, held:
3                  [E]vidence of a corporate state-of-mind or a discriminatory atmo-
                   sphere is not rendered irrelevant by its failure to coincide precisely
4                  with the particular actors or timeframe involved in the specific events
                   that generated a claim of discriminatory treatment.
5

6    Id. at 597-598.
7         In Ercegovich, supra, 154 F.3d at 356, the court similarly held that evidence of
8    discrimination by other supervisors:
9                  [M]ay reflect a cumulative managerial attitude among the defendant-
                   employer’s managers that has influenced the decisionmaking process
10                 for a considerable time. Thus, management’s consideration of an
                   impermissible factor in one context may support the inference that the
11                 impermissible factor entered into the decisionmaking process in
                   another context.
12

13   Id. at 356; see also Freeman v. Package Machinery Co. 865 F.2d 1331, 1342 (1st Cir.
14   1988) (“The inquiry into a corporation’s motives need not artificially be limited to the
15   particular officer who carried out the action . . .”); Robinson v. Runyon 149 F.3d 507, 512-
16   514 (6th Cir. 1998) (same); Cummings v. Standard Register Co. 265 F.3d 56, 63-64 (1st
17   Cir. 2001) (same). “Me, too” evidence is admissible even under different departments and
18   supervisors. Defendants cannot hope to attempt to exclude this evidence on this basis.
19        C. Evidence of Defendants’ Other Discrimination Is Also Relevant to
20            Prove “Motive,” “Intent,” and “Plan.”
21        Evidence of a defendant’s differential or discriminatory treatment is admissible to
22   prove that the overall environment in a particular work place discriminates against or is
23   hostile to a certain class of workers. In Johnson v. United Cerebral Palsy, supra, 173
24   Cal.App.4th 740, the court found declarations of former employees (stating that they were
25   fired or that they knew someone who was fired or who encountered more stress on the job
26   because she became pregnant or revealed that she was trying to get pregnant) “substantial
27   evidence” in support of the illegal reason the defendant fired the plaintiff (her pregnancy).
28   Id. at 759.

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1         Following Johnson, in Pantoja, supra, 198 Cal.App.4th 87, the court reversed
2    judgment for the defendants, explaining that evidence of harassment of an employee by
3    someone who was not a party to the case was probative of the defendants’ intent and to
4    rebut factual claims made by defense witnesses.
5         “Me, too” pattern and practice evidence is admissible for the separate and distinct
6    purpose of proving the employer’s motive, intent, or plan.
7                  The “me too” evidence was admissible, under Rule 404(b), to
               prove the intent of Bagby Elevator to discriminate and retaliate. We
8              have upheld the admission of coworker testimony in a sexual harass-
               ment context under Rule 404(b) to prove the defendant’s “motive, . . .
9              intent, . . . [or] plan” to discriminate against the plaintiff. Fed.R.Evid.
               404(b); Phillips v. Smalley Maint. Servs., Inc., 711 F.2d 1524, 1532
10             (11th Cir. 1983). Goldsmith and coworkers Jemison and Thomas
               were discriminated against by the same supervisor, Farley, so the
11             experiences of Jemison and Thomas are probative of Farley’s intent
               to discriminate. Steber was involved in the termination decisions of
12             all four individuals, so the experiences of Jemison, Peoples, and
               Thomas are probative of Steber’s intent.
13

14   Goldsmith v. Bagby Elevator Co. 513 F.3d 1261, 1286 (11th Cir. 2008); see, e.g., Heyne,
15   supra, 69 F.3d at 1480 (“evidence of [a supervisor’s] sexual harassment of other female
16   workers may be used, however, to prove his motive or intent in discharging [an
17   employee]”; thus, trial court erred in excluding evidence that supervisor harassed other
18   employees); Zubulake v. UBS Warburg, LLC 382 F.Supp.2d 536, 544 (S.D. N.Y. 2005)
19   (“As a general rule, the testimony of other employees about their treatment by the
20   defendant is relevant to the issue of the employer’s discriminatory intent” (citations
21   omitted)). “Me, too” evidence shows defendants’ discriminatory motive, intent, and plan
22   in their treatment of McMillian and is relevant and admissible for this reason as well.
23         Indeed, Defendants are specifically alleging in this matter that they may have
24   prematurely terminated McMillian by “accident”, and attempt to shift any blame to their
25   third party agent, The Reed Group, for providing them with information that was
26   erroneous.     For example, Neshira Wagner (a Rule 30(b)(6) witness) testified that
27   Defendants instruct their third party agency, The Reed Group, to investigate whether the
28   leave of absence case for the employee justified a termination, and reported that

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1    information to Defendants, suggesting an alleged lack of intent and alleged efforts to fix
2    any “mistakes” that may have been made. (Def’s. Exh. A, Wagner Depo., 182:24-184:7
3    “…we would just write up our review. We would submit our review over to Amazon.
4    And Amazon would determine, based on our findings, if the employee should be reinstated
5    or stay terminated.”) Indeed, Defendants claim that the termination was “premature” and
6    in error. (Exh. 3). This makes it even more necessary to introduce evidence that this was
7    an intentional plan with a motive to terminate employees who were on medical leave and
8    try to evade liability by using the third party agent as a scapegoat, knowing full well what
9    they were doing. Therefore, this evidence is probative to demonstrate lack of accident,
10   intent, and motive, and show the discriminatory intent behind McMillian’s termination.
11       D. Pattern and Practice Are Relevant in Individual Cases of
12            Discrimination.
13        McMillian is not seeking to prove merely that a specific individual terminated his
14   employment for discriminatory reasons, rather, he seeks to establish that his employer
15   acted pursuant to a company-wide pattern and practice in the termination of his
16   employment. See, e.g., Greene v. Safeway Stores, Inc. 98 F.3d 554, 560 (10th Cir. 1996)
17   (plaintiff permitted to present evidence that his firing fit a pattern of age-based dismissals
18   that included eight other top-level executives over the age of 50 who were replaced by
19   younger persons); Bingman v. Natkin & Co. 937 F.2d 553, 557 (10th Cir. 1991) (in
20   individual age discrimination case, “evidence . . . that defendant terminated others in the
21   60-year-old age group would be entirely relevant to the question of defendant’s policies
22   and practices”).
23        Pattern and practice therefore may be used as evidence to prove discrimination in an
24   individual case. See Lowery, supra, 158 F.3d 742, which held:
25                 Evidence of a pattern of practice of discrimination may very well
               be useful and relevant to prove . . . that the individual’s adverse
26             employment action occurred under circumstances giving rise to an
               inference of unlawful discrimination, or that the employer’s articu-
27             lated reasons for the adverse action was merely pretext, or to establish
               the Plaintiff’s ultimate burden.
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1    Id. at 761 (emphasis added, citation omitted).3 Thus, this “Me, too” evidence is relevant to
2    McMillian’s individual claims. The most common form of “pattern and practice” evidence
3    is statistical data, which are routinely admitted in individual discrimination cases, in
4    addition to providing the basis for class action “pattern and practice” cases. Diaz v.
5    American Telephone & Telegraph 752 F.2d 1356, 1362-1364 (9th Cir. 1985) (“Statistical
6    data is relevant because it can be used to establish a general discriminatory pattern in an
7    employer’s hiring or promotion practices. Such a discriminatory pattern is probative of
8    motive and can therefore create an inference of discriminatory intent with respect to the
9    individual employment decision at issue”).
10            In this case, Defendants have produced a chart reflecting a “Job Abandonment
11   Bridge” which is a regularly circulated report that shows management which employees
12   are negative in UPT, and includes both employees out on medical leave, or out for another
13   reason, in addition to reflecting which employees, among those with negative UPT, have
14   been terminated. (Exh. 1; Exh. 2, Amjad Depo., 129:6-19.) As reflected in the chart, there
15   are three employees, who, like McMillian, had allegedly accrued negative UPT, and had
16   a further leave of absence extension request pending and being reviewed, and were
17   subsequently terminated. (Exh. 1, employee ID numbers 103117815, 103113929, and
18   103102489.) At the same time, there are numerous employees who also have negative
19   UPT time, including employees with 20, 30, and even over 100 negative hours of UPT
20   who had not yet been terminated. (Exh. 1.) Such evidence is admissible for the reasons
21   above as well.
22           E. “Me, Too” Evidence is Admissible Even When the Acts Occurred
23              Outside the Statute of Limitations.
24           The United States Supreme Court in Amtrak v. Morgan, supra, 536 U.S. at 113, held
25   that evidence of prior acts that are outside the statute of limitations is admissible to support
26

27       3
            See also Jones v. UPS, Inc. 502 F.3d 1176, 1188-1189 (10th Cir. 2007) (evidence of the employer’s
     company-wide policy of disability discrimination constitutes circumstantial evidence of individualized
28   disability discrimination in plaintiff’s particular case).

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1    timely claims. The High Court in Amtrak held:
2                  The existence of past acts and the employee’s prior knowledge of
               their occurrence, however, does not bar employees from filing charges
3              about related discrete acts so long as the acts are independently
               discriminatory and charges addressing those acts are themselves
4              timely filed. Nor does the statute bar an employee from using the
               prior acts as background evidence in support of a timely claim.
5
     (Emphasis added.) Thus, Defendants cannot hope to exclude this evidence on this basis
6
     either.
7
          F. Proof of Company-Wide Unlawful Policy is Also Relevant to Punitive
8
               Damages.
9
          Evidence that other employees have experienced similar misconduct is relevant to a
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     McMillian’s claim for punitive damages. Here, plaintiff seeks punitive damages. The
11
     California Supreme Court and the United States Supreme Court both hold that, to deter-
12
     mine reprehensibility on a punitive damages claim, a trial court “must” consider whether
13
     “the conduct involved repeated actions or was an isolated incident.” State Farm at 409;
14
     Roby, 47 Cal.4th at 713. Each court held, “Reprehensibility of the defendant’s conduct is
15
     the most important indicium of the reasonableness of a punitive damages award.” State
16
     Farm at 419 (emphasis added); Roby at 713; Gober, supra, 137 Cal.App.4th at 219
17
     (employment harassment and discrimination). In the context of employment claims, the
18
     California Supreme Court explained on the question of “reprehensibility”:
19
                   The high court instructed courts to consider whether [1] the harm
20             caused was physical as opposed to economic; [2] the tortious conduct
               evinced an indifference to or a reckless disregard of the health or
21             safety of others; [3] the target of the conduct had financial vulner-
               ability; [4] the conduct involved repeated actions or was an isolated
22             incident; and [5] the harm was the result of intentional malice, trick-
               ery, or deceit, or mere accident.
23
     Roby at 713 (emphasis added); see State Farm at 409.
24
          Applying this reasoning, the court in Weeks v. Baker & McKenzie 63 Cal.App.4th
25
     1128, 1162 (1998), held that evidence regarding prior conduct toward other employees is
26
     properly “admitted, in part, to establish [the employer’s] liability for punitive damages.”
27
     Id. at 1162. The Weeks court held that evidence regarding prior conduct toward other
28


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                PLAINTIFF’S AMENDED OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
 Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 14 of 86 Page ID #:6901



1    employees is admissible to demonstrate motive, intent, or plan. Weeks involved a law
2    partner who had sexually harassed employees other than plaintiff Weeks. The trial court
3    admitted evidence of his prior acts of sexual harassment to prove both that the sexual
4    harassment at issue was intentional and that the actor acted with knowledge that he was
5    likely to injure. On appeal, Weeks held that evidence of past actions may be admitted to
6    prove some fact such as motive, intent, plan, knowledge, or absence of mistake or accident.
7    Id. at 1162. The Court went on to state that:
8                  Civil Code section 3294 defines “malice” for purposes of punitive
               damages liability as “conduct which is intended by the defendant to
9              cause injury to the plaintiff or despicable conduct which is carried on
               by the defendant with a willful and conscious disregard of the rights
10             or safety of others.” (Civ. Code, § 3294, subd. (c)(1).) “Oppression”
               is defined as “despicable conduct that subjects a person to cruel and
11             unjust hardship in conscious disregard of that person’s rights.” (Civ.
               Code, § 3294, subd. (c)(2).) Evidence of Greenstein’s past conduct,
12             and that he had been warned or reprimanded as a result of that conduct,
               tended to prove that he was fully aware that similar conduct would
13             cause injury, and acted either with the intent to cause injury or with a
               willful and conscious disregard of Weeks’s rights.
14
          Weeks rejected the argument that evidence regarding prior conduct toward other
15
     employees is inadmissible on the basis of plan, motive, intent, knowledge, or absence of
16
     mistake or accident, holding, “Evidence of past actions may be admitted to prove some
17
     fact such as motive, intent, plan, knowledge or absence of mistake or accident,” and noting
18
     that the evidence was also properly “admitted, in part, to establish [the employer’s]
19
     liability for punitive damages.” Id. at 1162.
20
          Further, “[D]ue process does not prohibit state courts, in awarding or reviewing
21
     punitive damages, from considering the defendant’s illegal or wrongful conduct toward
22
     others that was similar to the tortious conduct that injured the plaintiff or plaintiffs.”
23
     Johnson v. Ford Motor Co. 35 Cal.4th 1191, 1207 (2005). Moreover, the California Court
24
     of Appeals, citing Johnson v. Ford and State Farm, recently reiterated that “the
25
     reprehensibility of a defendant’s conduct is the most important indicator of the
26
     reasonableness of a punitive damages award” and held, “Conduct is more reprehensible
27
     where . . . it is part of repeated corporate policy or practice rather than an isolated
28


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                PLAINTIFF’S AMENDED OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
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1    incident.” Buell-Wilson v. Ford Motor Co. 160 Cal.App.4th 1107, 1158 (2008). This, this
2    evidence is admissible to also establish a basis for punitive damages.
3         Defendants allege that because this Court’s Order on Defendants’ Motion for
4    Summary Judgment rejected Plaintiff’s argument that punitive damages could be
5    warranted because of a widespread problem, that me, too evidence is not admissible. (Def.
6    MIL No. 1, pg. 10.) First, the Court did not “reject” the idea of a widespread issue.
7    Furthermore, unlike at trial, McMillian did not introduce any “me, too” evidence in his
8    opposition to Defendants’ motion for summary adjudication, and thus, the circumstances
9    here are different, and such evidence cannot be exclude from trial.
10       G. FRE Rule 403 Arguments Are Unavailing.
11        Any argument that evidence of other victims of discrimination would be prejudicial
12   and therefore inadmissible under FRE Rule 403 is without merit. The Ninth Circuit
13   rejected this argument in Obrey, supra, 400 F.3d 691:
14        The district court [had] excluded the testimony of three Shipyard workers . . . who
15   were prepared to testify that the Shipyard discriminated against them on the basis of race.
16   The [district] court found that the testimony at issue would require the jury to . . . conduct[]
17   three abbreviated employment discrimination trials.
18        The Ninth Circuit reversed, holding:
19        [N]one of the testimony that the appellant attempted to offer into evidence so clearly
20   involved delay that was “undue” or a “waste of time” or was cumulative of other evidence
21   that it was excludable. Rather, the testimony was offered to show that the defendant had
22   a discriminatory motive when it denied his promotion because it had unlawfully rejected
23   other applicants in circumstances similar to his, and tended to support his pattern or
24   practice theory. . . . [T]his is not the sort of undue delay and waste of time that the Rules
25   contemplate.
26        Id. at 698-699. Johnson, Pantoja, and McCoy likewise rejected such arguments.
27   Thus, evidence of others being terminated while on medical leave in not inadmissible
28   under FRE Rule 403.

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                PLAINTIFF’S AMENDED OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
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1          Evidence may be excluded under FRE Rule 403 if its probative value is substantially
2    outweighed by the danger of one or more of the following: unfair prejudice, confusing the
3    issues, misleading the jury, undue delay, wasting time, or needlessly presenting
4    cumulative evidence. The “prejudice” referred to applies to evidence which uniquely
5    tends to evoke an emotional bias against defendant as an individual and which has very
6    little effect on the issues.” People v. Coddington 23 Cal.4th 529, 588 (2000) (emphasis
7    added). “Prejudicial” does not mean “damaging” or inconvenient for defendants. Id.
8    Arguing that “me, too” evidence is prejudicial is simply an argument that it would be
9    damaging to defendants’ case. This is not “prejudicial.”
10         As was established above, “me, too” evidence is probative of the issues of motive
11   and intent. Because issues of motive and intent are the central issue in discrimination
12   cases, the probative value of “me, too” evidence outweighs any prejudice.
13         Furthermore, “me, too” evidence will not cause any confusion to a jury or undue
14   delay of time. This evidence is directly probative to McMillian proving his claims,
15   establishing the discriminatory intent, and to establish punitive damages. Introducing such
16   evidence will not cause undue delay as it is essential to McMillian proving his case.
17   Moreover, any alleged risk of confusion is outweighed by the probative value of this
18   evidence. Therefore, the evidence is admissible.
19    3. DEFENDANTS’ FAILURE TO MEET & CONFER
20         Defendants have indicated they did not meet and confer because Plaintiff’s counsel
21   was in trial, however, the parties have had multiple phone calls to meet and confer on trial
22   pleadings while Plaintiff’s counsel has been on trial, and the parties have regularly
23   communicated through email as well. (Madjidi Decl., ¶ 5; Exh. 4.)
24    4. CONCLUSION
25         For the reasons above, this motion in limine must be denied.
26   ///
27   ///
28


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                PLAINTIFF’S AMENDED OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
 Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 17 of 86 Page ID #:6904



1    Dated: March 8, 2022           SHEGERIAN & ASSOCIATES, INC.
2

3                                   By:
                                          Mahru Madjidi, Esq.
4
                                          Attorneys for Plaintiff,
5                                         MARCELLUS MCMILLIAN
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              PLAINTIFF’S AMENDED OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
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      DECLARATION
 Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 19 of 86 Page ID #:6906



1                            DECLARATION OF MAHRU MADJIDI
2

3          I, Mahru Madjidi, declare as follows:
4          1. I am an attorney at law, duly authorized to practice law before all of the courts of
5    the State of California. I am a managing associate attorney for Shegerian & Associates,
6    the attorney of record for plaintiff, Marcellus McMillian, in this case. I am familiar with
7    the files, pleadings, and facts in this case and could and would competently testify to the
8    following facts on the basis of my own personal knowledge.
9          2. Attached hereto as Exhibit 1 is a true and correct copy of the job abandonment
10   chart produced by Defendants in this case.
11         3. Attached hereto as Exhibit 2 are true and correct copies of excerpt from the
12   deposition of Sonja Amjad.
13         4. Attached hereto as Exhibit 3 is a true and correct copy of an email
14   correspondence from Defendant’s Regional Accommodation Manager.
15         5. Defendants have indicated they did not meet and confer because our office was
16   in trial, however, the parties have had multiple phone calls to meet and confer on trial
17   pleadings while we have been in trial, and the parties have regularly communicated
18   through email as well. I can understand and appreciate that being engaged in trial does
19   limit the availability of the parties to communicate, however, it does not serve as a basis
20   for failing to meet and confer altogether and not emailing my office about what motions
21   in limine they intend to file until hours before filing their motions. Attached hereto as
22   Exhibit 4 is a true and correct copy of the email correspondence indicating that
23   Defendants’ intend to file four motions in limine, which took place on December 13, 2021,
24   the same day the motions in limine were due.
25   ///
26   ///
27   ///
28   ///


           DECLARATION OF MAHRU MADJIDI IN OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
 Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 20 of 86 Page ID #:6907



1         I declare, under penalty of perjury under the laws of the State of California, that the
2    foregoing is true and correct.
3         Executed on this 8th day of March, 2022, at Los Angeles, California.
4

5
                                                 Mahru Madjidi, Esq.
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         DECLARATION OF MAHRU MADJIDI IN OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 1
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 21 of 86 Page ID #:6908




                      EXHIBIT 1
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 22 of 86 Page ID #:6909




                                                                                     AMZN-MCMLLN_001215
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 23 of 86 Page ID #:6910




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 24 of 86 Page ID #:6911




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 25 of 86 Page ID #:6912




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 29 of 86 Page ID #:6916




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 30 of 86 Page ID #:6917




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 32 of 86 Page ID #:6919




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 33 of 86 Page ID #:6920




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 34 of 86 Page ID #:6921




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 35 of 86 Page ID #:6922




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 36 of 86 Page ID #:6923




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 37 of 86 Page ID #:6924




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 38 of 86 Page ID #:6925




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 39 of 86 Page ID #:6926




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 40 of 86 Page ID #:6927




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 41 of 86 Page ID #:6928




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 43 of 86 Page ID #:6930




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 44 of 86 Page ID #:6931




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 45 of 86 Page ID #:6932




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 46 of 86 Page ID #:6933




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 47 of 86 Page ID #:6934




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 53 of 86 Page ID #:6940




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Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 55 of 86 Page ID #:6942




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                      EXHIBIT 2
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 57 of 86 Page ID #:6944


       1                    UNITED STATES DISTRICT COURT

       2        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

       3

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       5
           MARCELLUS MCMILLIAN,                        )
       6                                               )
                           Plaintiff,                  )
       7                                               )   Case No.
                     vs.                               )   2:19-cv-02121-MWF
       8                                               )   -JCx
           GOLDEN STATE FC LLC, AMAZON                 )
       9   FULFILLMENT SERVICES, INCL,                 )   A.M. SESSION
           AMAZON.COM SERVICES, INC.,                  )
      10   AMAZON.COM, INC., DEVON FRANKLIN,           )
           and DOES 1 to 100, inclusive,               )
      11                                               )
                           Defendants.                 )
      12                                               )

      13

      14                                ---oOo---

      15                      DEPOSITION OF SONIA AMJAD

      16                           September 30, 2020

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                                        ---oOo---
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      24   BETH DOUGLAS, RPR, CSR 8019
           467377
      25
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 58 of 86 Page ID #:6945


       1                    UNITED STATES DISTRICT COURT

       2        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

       3

       4                                ---oOo---

       5
           MARCELLUS MCMILLIAN,                        )
       6                                               )
                           Plaintiff,                  )
       7                                               )   Case No.
                     vs.                               )   2:19-cv-02121-MWF
       8                                               )   -JCx
           GOLDEN STATE FC LLC, AMAZON                 )
       9   FULFILLMENT SERVICES, INCL,                 )   A.M. SESSION
           AMAZON.COM SERVICES, INC.,                  )
      10   AMAZON.COM, INC., DEVON FRANKLIN,           )
           and DOES 1 to 100, inclusive,               )
      11                                               )
                           Defendants.                 )
      12                                               )

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      14                                ---oOo---

      15                      DEPOSITION OF SONIA AMJAD

      16                    Wednesday, September 30, 2020

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           Reported by BETH DOUGLAS, RPR, CSR 8019
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                                         SONIA AMJAD
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 59 of 86 Page ID #:6946


       1                         A P P E A R A N C E S

       2   For the Plaintiff:
                          SHEGERIAN & ASSOCIATES, INC.
       3                  225 Santa Monica Boulevard, Suite 700
                          Santa Monica, California 90401
       4                  By: MAHRU MADJIDI, Attorney at Law
                          GRISELDA S. RODRIGUEZ, Attorney at Law
       5

       6   For the Defendants and Sonia Amjad:
                          MORGAN, LEWIS & BOCKIUS LLP
       7                  600 Anton Boulevard, Suite 1800
                          Costa Mesa, California 92626
       8                  By: BARBARA A. FITZGERALD, ESQ., Attorney
                          at Law
       9

      10   Other Persons Present:
                          SONIA AMJAD, Deponent
      11                  BETH DOUGLAS, Court Reporter

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                                        SONIA AMJAD
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 60 of 86 Page ID #:6947


       1                                 I N D E X

       2   Examinations                                               Page

       3   EXAMINATION BY MS. MADJIDI                                   6

       4                             E X H I B I T S
           No.        Description                                     Page
       5
            1    Notice of Deposition                                  61
       6    2    Accommodation Case Management Standard                72
                 Operating Procedure
       7    3    E-mail Chain                                         100
            4    Amazon Letter 5/3/2018                               111
       8    5    E-mail chain                                         115
            6    E-mail Chain                                         115
       9
                                 INFORMATION REQUESTED
      10                             Page     Line

      11

      12                  QUESTIONS INSTRUCTED NOT TO ANSWER
                                     Page     Line
      13

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                                        SONIA AMJAD
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 61 of 86 Page ID #:6948


       1              My name is Beth Douglas.        I am a California

       2   Certified Stenographic Reporter and Registered

       3   Professional Reporter.      CSR #8019.

       4              Today's date is September 30, 2020 and the time

       5   is approximately 10:09 a.m.

       6              This is the deposition of SONIA AMJAD in the

       7   matter of MARCELLUS MCMILLIAM vs. GOLDEN STATE FC LLC,

       8   AMAZON FULFILLMENT SERVICES, INCL, AMAZON.COM SERVICES,

       9   INC., AMAZON.COM, INC., DEVON FRANKLIN, and DOES 1 to 100,

      10   inclusive.

      11              Case number:    2:19-cv-02121-MWF-JCx.

      12              At this time I will ask counsel to identify

      13   yourself, state whom you represent and agree on the record

      14   that there is no objection to this deposition officer

      15   administering a binding oath to the witness via Zoom and

      16   following the Code of Civil Procedure 2025.520.

      17              Let's start with the noticing attorney.

      18              MS. MADJIDI:    Ms. Madjidi; Shegerian &

      19   Associates, for the plaintiff.         My colleague Ms. Rodriguez

      20   is here, as well, for the plaintiff.

      21              And we stipulate to those terms.

      22              MS. FITZGERALD:     Barbara Fitzgerald; Morgan,

      23   Lewis & Bockius on behalf of the defendant and the

      24   witness.

      25              I will stipulate.



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                                        SONIA AMJAD
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       1   can't confirm anything about this because this is not part

       2   of my standard responsibilities; so I can't speak on it.

       3         Q.   And so just to be clear.        Do you know what it's

       4   referring to when it's talking about creating a case note

       5   and case note requirements?

       6         A.   I'm not sure.

       7              MS. FITZGERALD:      Lacks foundation.

       8              THE WITNESS:    I'm not sure.      I can assume there

       9   were some sort of case notes created.

      10              MS. FITZGERALD:      Sonia, if you know, let her

      11   know.   If you don't know, don't guess.         Okay?

      12              THE WITNESS:    No.   I don't know.

      13              MS. MADJIDI:    Q.    All right.    We can put that one

      14   away.

      15              Do you have any knowledge of whether or not

      16   Amazon requires employees who are requesting an

      17   accommodation to reveal what medical diagnosis they have

      18   that's resulting in them needing an accommodation?

      19              MS. FITZGERALD:      Lacks foundation.    Incomplete

      20   hypothetical.

      21              THE WITNESS:    Not to my knowledge, no.

      22              MS. MADJIDI:    Q.    Are you familiar with Amazon's

      23   policies regarding U-P-T?

      24              MS. FITZGERALD:      Go ahead.

      25              THE WITNESS:    I'm familiar with UPT policies.



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                                        SONIA AMJAD
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       1               MS. MADJIDI:    Q.   Can you describe for me what

       2   UPT is?

       3          A.   U-P-T stands for unpaid time.

       4          Q.   And what are the policies regarding unpaid time,

       5   UPT?

       6          A.   I don't remember them all since it's been two

       7   years, but I know that any time UPT -- I shouldn't say

       8   "any time," if UPT goes negative without sufficient time

       9   to cover, that will result in termination.

      10          Q.   What do you mean by "sufficient time to cover"?

      11          A.   Depends on the situation, but if you are one hour

      12   negative UPT, but you have two hours of paid time off, you

      13   can apply an hour of paid time off and you will be back to

      14   zero.

      15          Q.   Okay.

      16               Is there any -- so, generally, if someone is in

      17   the negative for UPT, that results in a termination?

      18          A.   Generally, yes.

      19          Q.   What are the exceptions to that other than the

      20   one you just described?

      21               MS. FITZGERALD:      Objection.   Vague and ambiguous

      22   as to "exceptions."        Mischaracterizes the testimony.

      23   Lacks foundation.

      24               THE WITNESS:    The one I mentioned is the most

      25   common that I was familiar with.         Or if there is another



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                                         SONIA AMJAD
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       1   example, it could be if a time was not coded correctly,

       2   which is showing a negative UPT, which is not accurate.

       3              MS. MADJIDI:    Q.   If someone is on a leave of

       4   absence, are they immune from accruing UPT?

       5              MS. FITZGERALD:      Vague and ambiguous as to

       6   "immune."    And also incomplete hypothetical.        Also vague

       7   and ambiguous as to "on leave."

       8              THE WITNESS:    If an employee is on a leave of

       9   absence that is approved, they are not accruing negative

      10   UPT.

      11              MS. MADJIDI:    Q.   At what point after they have

      12   accrued negative UPT are they fired?

      13              MS. FITZGERALD:      Incomplete hypothetical.     Lacks

      14   foundation.

      15              THE WITNESS:    Even a negative one UPT, which is

      16   one hour, could result in a termination if there is no

      17   excused reason to move them back to zero.

      18              MS. MADJIDI:    Q.   Is UPT something that you will

      19   keep track of in your role as HR at Amazon?

      20              MS. FITZGERALD:      Vague and ambiguous as to "keep

      21   track."

      22              THE WITNESS:    Yes, I would track it in the -- I

      23   would review the employees that were on negative UPT.

      24              MS. MADJIDI:    Q.   Is that part of the daily

      25   metrics that you would review or separate?



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                                        SONIA AMJAD
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       1          A.   Correct.

       2          Q.   It is part of daily metrics?

       3          A.   Correct.

       4          Q.   So if you are reviewing the metrics on a

       5   particular day and you see someone has for the first time

       6   reached negative UPT.       What do you do at that point?       Do

       7   you terminate them?        Or is there a different step you take

       8   before?

       9               MS. FITZGERALD:      Incomplete hypothetical.    Lacks

      10   foundation.

      11               THE WITNESS:    No.   We do not -- generally, we

      12   would not automatically go to termination.          First step

      13   typically would be to have a conversation with the

      14   employee to understand why they are negative to see if

      15   there is any excused reason that would cover that time

      16   off.

      17               MS. MADJIDI:    Q.    And if you find that there is

      18   an excused reason, what are the steps that you take

      19   thereafter or potential excused reason?

      20               MS. FITZGERALD:      Incomplete hypothetical.

      21               THE WITNESS:    I could facilitate a conversation

      22   between them and the leave team if that was the situation

      23   because the case is different every time.          I can educate

      24   the employee on how to utilize paid time off.          I could

      25   educate the employee on how to code their time correctly.



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                                         SONIA AMJAD
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       1   to why ReedGroup had denied the claim?

       2         A.   Not that I can recall at this time.        I was aware

       3   that documents was pending.       Ultimately I don't know if

       4   something changed at that point.

       5         Q.   Did you have any knowledge of when

       6   Mr. McMillian was going to be released back to work

       7   without any restrictions?

       8         A.   Can you repeat that?

       9         Q.   Sure.   At any point in time, did you have any

      10   knowledge of when Mr. McMillian anticipated returning back

      11   to work without any restrictions had he not been fired?

      12         A.   No.   I'm not -- I'm not sure.

      13         Q.   Do you have any knowledge of whether there was

      14   any concern Mr. McMillian was going to continue on a leave

      15   of absence for several months thereafter?

      16              MS. FITZGERALD:      I'm sorry.   Could you read that

      17   back, please?

      18              MS. MADJIDI:    Let me actually rephrase it.

      19              MS. FITZGERALD:      Sure.

      20              MS. MADJIDI:    Q.    Do you know if there were any

      21   concerns from Amazon that Mr. McMillian was going to be

      22   continue staying on a leave of absence far beyond the date

      23   that he was terminated?

      24              MS. FITZGERALD:      Lacks foundation.

      25              THE WITNESS:    No.   I'm not aware of the length.



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                                        SONIA AMJAD
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       1   If it were one week or a month, I'm not aware of the

       2   length -- estimated length.        And I don't know of any

       3   concerns that Amazon had with any length of time that it

       4   would take.

       5              MS. MADJIDI:    Q.    Would those concerns -- would

       6   you have been informed of any concerns to that effect if

       7   there had been any?

       8              MS. FITZGERALD:      Assumes facts not in evidence

       9   that Amazon would be concerned about the length of any

      10   leave. Argumentative.

      11              THE WITNESS:    Yeah.    I'm not aware of any

      12   concerns from the company.

      13              MS. MADJIDI:    Q.    Do you have any knowledge of

      14   whether or not it would have placed some kind of a burden

      15   on Amazon that they could not accommodate if Mr. McMillian

      16   needed to continue to stay in a leave of absence beyond

      17   the date of his termination?

      18              MS. FITZGERALD:      Lacks foundation.

      19              THE WITNESS:    Can you repeat that?

      20              MS. MADJIDI:    Q.    Sure.   Are you aware of whether

      21   or not Amazon was concerned about any burden that would be

      22   placed on them if Mr. McMillian continued to stay on a

      23   leave of absence beyond the date that he was terminated?

      24              MS. FITZGERALD:      Lacks foundation.

      25              THE WITNESS:    No.



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                                        SONIA AMJAD
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       1              MS. MADJIDI:    Q.   Do you know if Mr. McMillian's

       2   termination -- strike that.

       3              Do you have any knowledge of whether ultimately

       4   there was any kind of a finding that Mr. McMillian had

       5   been prematurely terminated?

       6              MS. FITZGERALD:      Vague and ambiguous.     Lacks

       7   foundation.

       8              THE WITNESS:    I'm not aware of any such finding.

       9              MS. MADJIDI:    I'm going to mark this next exhibit

      10   as No. 6.    Give me one moment while I mark it and I will

      11   put it into the chat in a moment.

      12              (Off-the-record discussion.)

      13              (End of a.m. session.)

      14

      15                  I have read the foregoing deposition

      16     transcript and by signing hereafter, subject to

      17     any changes I have made, approve same.

      18

      19     Dated_____________________.

      20

      21

      22                              _______________________________
                                          (Signature of Deponent)
      23

      24

      25



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                                        SONIA AMJAD
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       1   SIGNATURE OF DEPONENT

       2

       3        I, the undersigned, SONIA AMJAD, do hereby certify

       4   that I have read the foregoing deposition and find it to

       5   be a true and accurate transcription of my testimony, with

       6   the following corrections, if any:

       7

       8   PAGE LINE                        CHANGE

       9   ____ ____        _______________________________________

      10   ____   ____      _______________________________________

      11   ____   ____      _______________________________________

      12   ____   ____      _______________________________________

      13   ____   ____      _______________________________________

      14   ____   ____      _______________________________________

      15   ____   ____      _______________________________________

      16   ____   ____      _______________________________________

      17   ____   ____      _______________________________________

      18   ____   ____      _______________________________________

      19   ____   ____      _______________________________________

      20   ____   ____      _______________________________________

      21   ____   ____      _______________________________________

      22   ____   ____      _______________________________________

      23

      24
                            __________________________________
      25                    SONIA AMJAD, Date



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                                        SONIA AMJAD
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       1                                                                     121

       2                         REPORTER'S CERTIFICATE

       3

       4         I, BETH DOUGLAS, a Certified Stenographic Reporter,

       5    State of California, do hereby certify:

       6         That prior to being examined, SONIA AMJAD, in the

       7    foregoing deposition named, was remotely sworn by me to

       8    testify to the truth, the whole truth, and nothing but the

       9    truth;

      10         That said deposition was remotely taken at said time

      11    and place, and was taken down stenographically by me, a

      12    Certified Shorthand Reporter of the State of California,

      13    and was thereafter under my direction transcribed into

      14    booklet form, and that the foregoing transcript

      15    constitutes a full, true, and correct report of said

      16    proceedings;

      17         IN WITNESS WHEREOF, I have hereunder subscribed my

      18    hand this October 9, 2020.

      19

      20                          /s/Beth Douglas
                            ___________________________________
                            BETH DOUGLAS RPR, CSR 8019
      21                    State of California

      22

      23
           This certification applies only to authorized copies
      24   reproduced under the direct or indirect supervision and
           knowledge of this CSR; any other copies invalidate the
      25   above certificati




                                        SONIA AMJAD
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       1                     UNITED STATES DISTRICT COURT

       2         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

       3

       4   MARCELLUS McMILLIAN,              )
                                             )
       5                     Claimant,       )
                                             )
       6              vs.                    ) Case No.
                                             ) 2:19-cv-02121-MWF-
       7   GOLDEN STATE FC LLC, AMAZON       ) JCx
           FULFILLMENT SERVICES, INC.,       )
       8   AMAZON.COM SERVICES, INC.,        )
           AMAZON.COM, INC., DEVON           )
       9   FRANKLIN, and DOES 1 to 100,      )
           inclusive,                        )
      10                                     )
                             Respondents.    )
      11   _________________________________ )

      12

      13

      14

      15

      16

      17

      18                   Afternoon session of deposition of

      19              SONIA AMJAD, taken via Zoom

      20              videoconference with all parties

      21              appearing remotely, on behalf of

      22              Claimant, commencing at 1:09 p.m., on

      23              Wednesday, September 30, 2020, before

      24              VESNA WALTER, Certified Shorthand

      25              Reporter No. 11989.



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                              SONIA AMJAD -AFTERNOON SESSION
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       1   APPEARANCES:

       2

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       8
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      13
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      18              Barbara.fitzgerald@morganlewis.com

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                              SONIA AMJAD -AFTERNOON SESSION
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       1                             I N D E X

       2   WITNESS

       3   SONIA AMJAD

       4   Examination by:                                        Page

       5           MS. MADJIJI                                       124

       6

       7

       8                          E X H I B I T S

       9   Exhibit          Description                            Page

      10   Exhibit 7        Email chain                                124

      11   Exhibit 8        Job abandonment bridge documents           128

      12   Exhibit 9        6/21/18 email                              153

      13   Exhibit 10       9/28/18 email with attachments             156

      14   Exhibit 11       4/13/18 email                              160

      15   Exhibit 12       4/20/18 email                              162

      16   Exhibit 13       4/24/18 email                              164

      17   Exhibit 14       5/1/18 email                               168

      18   Exhibit 15       Accommodations policy                      184

      19   Exhibit 16       Objections to notice of                    186
                            deposition
      20

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       1                     Wednesday, September 30, 2020

       2                         1:09 p.m. - 2:48 p.m.

       3

       4                               SONIA AMJAD,

       5   having been administered an oath, was examined and

       6   testified as follows:

       7

       8                               EXAMINATION

       9   BY MS. MADJIJI:

      10        Q     We are back on the record.

      11              Ms. Amjad, do you understand you're still under

      12   oath?

      13        A     Yes.

      14        Q     All right.    So I have Exhibit 7.      I'm putting it

      15   into the chat.      Please let me know when you have it up.

      16        A     I have it up.

      17              (Exhibit 7 was marked for identification.)

      18   BY MS. MADJIJI:

      19        Q     Okay.    Take a look through this email chain and

      20   let me know if you've ever seen these before.

      21        A     Yes, I have seen this.

      22        Q     All right.    Looking at the bottom, again, it's

      23   in reverse chronological order.         The email that was sent

      24   by Mary Granger on September 12th, 2018, do you know who

      25   Mary Grainger is?



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                              SONIA AMJAD -AFTERNOON SESSION
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       1        A     No.    I don't -- I may have.     I don't recall now

       2   who that is.

       3        Q     And do you know what the email was regarding

       4   generally what Mr. -- Ms. Granger sent it to you and the

       5   others on September 12th.

       6              MS. FITZGERALD:     Just to be clear, though -- let

       7   me be very clear.      There are a number of attorneys for

       8   Amazon mentioned on this portion of the email that we're

       9   looking at, the September 12th, 2018, at 4:01 p.m., and

      10   it indicates "Legal hold notice."         The communication is

      11   privileged.

      12              So, Ms. Amjad, you're not to reveal the contents

      13   of the material that is -- that is indicated.           It's been

      14   redacted.    It's privileged.      And to the extent that you

      15   would have to reveal that, I instruct you not to answer.

      16              THE WITNESS:     Just based on the subject line, it

      17   looks to be a notice about Mr. McMillian.

      18   BY MS. MADJIJI:

      19        Q     And then did somebody forward that -- did you

      20   forward that email to somebody at -- to Amy Virden?

      21        A     Correct, my supervisor.

      22        Q     Okay.    And then she asked you, "Any idea what

      23   the suit is for?"; correct?

      24        A     Yep.    Correct.

      25        Q     And then you responded, "I don't remember all of



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                              SONIA AMJAD -AFTERNOON SESSION
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       1              Working on it.

       2              MS. MADJIJI:     No problem.

       3              MS. FITZGERALD:     Okay.      It's open.   Thank you.

       4              MS. MADJIJI:     Sure.

       5   BY MS. MADJIJI:

       6        Q     Okay.    Ms. Amjad, just from a very general

       7   standpoint, what are these various charts reflecting that

       8   we're looking at?

       9        A     Generally, it looks like they're employees that

      10   are on negative UPT.

      11        Q     And you're on the email chains for these being

      12   circulated.     Do you know if this is part of some kind of

      13   a regular report that's circulated out?

      14        A     Yes.    Generally, the HRAs would update this as

      15   part of their, you know, daily metrics and then send it

      16   out to the folks on this list.

      17        Q     So these emails were sent out on a daily basis?

      18        A     I don't know the cadence at which Renee or

      19   whoever would send it, but they were sent regularly, yes.

      20        Q     So there's a legend that seems to have a color-

      21   coded key.    I know "AAs" refers to the employees;

      22   correct?

      23        A     Correct.

      24        Q     So, again, starting from reverse chronological

      25   order, I'll go from the bottom.



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       1   corrections to the transcript that you deem necessary,

       2   sign the deposition in the space provided, and return the

       3   original deposition transcript with changes or errata

       4   page of any and signature page to counsel for defendants

       5   within --

       6              "How many days would you like, Counsel?

       7              "MS. FITZGERALD:     How about if we say 15?       But

       8   just to be clear, if I can get it to you sooner, I will.

       9              "If she can do it sooner, too, we both will.

      10   But if we need additional time, I would expect the same

      11   courtesy that we can ask for it and you'll grant it, if

      12   it's feasible.

      13              "MS. RODRIGUEZ:     Yes.     Certainly.   So okay.

      14              "Now, the original transcript would then revert

      15   back to my office.      And we will agree to produce it and

      16   lodge it with the court at the time of trial or for any

      17   proceeding for which it may be needed upon reasonable

      18   notice.    In the event the original executed transcript is

      19   not reviewed, corrected, if necessary, or signed by the

      20   deponent within the time frame I've stated or in the

      21   event the original executed transcript may be lost or

      22   otherwise unavailable, that the parties agree that a

      23   certified copy may be used for all purposes as if it were

      24   duly executed and a signed original transcript.

      25              "So stipulated?



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                              SONIA AMJAD -AFTERNOON SESSION
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       1              MS. FITZGERALD:     So stipulated.")

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       1                                  -oOo-

       2                 I have read the foregoing deposition

       3    transcript and by signing hereafter, subject to

       4    any changes I have made, approve same.

       5

       6    Dated_____________________.

       7

       8

       9                             _______________________________
                                         (Signature of Deponent)
      10

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                              SONIA AMJAD -AFTERNOON SESSION
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       1                DEPOSITION OFFICER'S CERTIFICATE

       2   STATE OF CALIFORNIA       )
                                     ) ss.
       3   COUNTY OF RIVERSIDE       )

       4

       5

       6              I, Vesna Walter, hereby certify:

       7              I am a duly qualified Certified Shorthand

       8   Reporter in the State of California, holder of

       9   Certificate Number CSR 11989 issued by the Certified Court

      10   Reporters' Board of California and which is in full

      11   force and effect.      (Fed. R. Civ. P. 28(a)(1)).

      12              I am authorized to administer oaths or

      13   affirmations pursuant to California Code of Civil

      14   Procedure, Section 2093(b) and prior to being examined,

      15   the witness was first duly sworn by me.          (Fed. R. Civ.

      16   P. 28(a)(a)).

      17              I am not a relative or employee or attorney or

      18   counsel of any of the parties, nor am I a relative or

      19   employee of such attorney or counsel, nor am I

      20   financially interested in this action.          (Fed. R. Civ. P.

      21   28).

      22              I am the deposition officer that

      23   stenographically recorded the testimony in the foregoing

      24   deposition and the foregoing transcript is a true record

      25                                  / / /



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       1   of the testimony given by the witness.          (Fed. R. Civ. P.

       2   30(f)(1)).

       3              Before completion of the deposition, review of

       4   the transcript [XX] was [       ] was not requested.      If

       5   requested, any changes made by the deponent (and

       6   provided to the reporter) during the period allowed, are

       7   appended hereto.      (Fed. R. Civ. P. 30(e)).

       8

       9   Dated: October 13, 2020

      10

      11

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      15                               ______________________________

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                              SONIA AMJAD -AFTERNOON SESSION
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                      EXHIBIT 3
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 83 of 86 Page ID #:6970


From:           /o=amazon/ou=exchange administrative group
                (fydibohf23spdlt)/cn=recipients/cn=4cb0e01271a94bdb9675aab0c7601db4-mryptt        [/o=amazon/ou=exchange
                administrative group (fydibohf23spdlt)/cn=recipients/cn=4cb0e01271a94bdb9675aab0c7601db4-mryptt]
Sent:           6/21/2018 10:47:24 AM
To:             ont3-hr@amazon.com
CC:             Favati, Caitlin [favatic@amazon.com]; ONT2-HR@amazon.com
Subject:        Marcellus McMillian IEmployee ID: 101953050


The above AA was terminated due to job abandonment on 5-5-2018.
Reviewing his Inquiry on AT - not per se an accommodations but an Inquiry.
It was a myleave situation and the AA provided documentation through 5-13-2018 return to work.
Did we prematurely term the AA?



Mary Cortez Patterson, PHR -CA, SHRM-CP, CPDM (In Progress)
Amazon HR Services, Regional Accommodation Manager - Leave of Absence and Accommodations
E: mryptt@amazon .com C: 909-990-4468



 amazon
      -......,___.
               leave&accommodation
For Leave of Absence assistancecontact:                                For Accommodationsconsultingcontact:

 amazon                                                                 amazon
                   leave                                                   -....._..;; accommodation
Phone: 1-888-892-7180, press option 1, then option 2                   Phone: 1-888-892-7180, press option 1, then option 4
Fax: 1-847-554-1812                                                    Fax: 1-206-946-7289
Online: https://myleave.amazon.com/                                    Email: accommodations@amazon.com
Mail documents to: P.O. Box 563937, Charlotte, NC 28256-3937           Escalations: quicklink
Escalations: quicklink                                                 General Inquiry: quicklink
(must be on the Amazon network to access)                              (must be on the Amazon network to access)




                                                               EXHIBIT 59
                                                                  225
                                                                                                               AMZN-MCMLLN _000961
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                      EXHIBIT 4
Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 85 of 86 Page ID #:6972


    From:             Grodan, Alexander L.
    To:               Mahru Madjidi; Fitzgerald, Barbara A.
    Cc:               Johnson, Ethel J.; Griselda Rodriguez; Bohm, Jr., Kevin J
    Subject:          RE: McMillian v. Amazon
    Date:             Monday, December 13, 2021 12:34:27 PM
    Attachments:      image001.png
                      image002.png
                      image003.png
                      image004.png
                      image005.png
                      image006.png
                      image007.png
                      image008.png
                      image027.png


    We are working on it.

    In the meantime, below is the list of our anticipated motions in limine:

            1) Exclude reference to Defendants’ financial information.
            2) Exclude reference to other employees whose employment ended while on approved
            leave.
            3) Exclude reference to training of leave administrators/employees on California law.
            4) Exclude argument equating violation of company policy with a violation of law.

    Please let us know if Plaintiff is willing to stipulate to exclude any of the above.

    Thank you,

    Alex

    Alexander L. Grodan
    Morgan, Lewis & Bockius LLP
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    From: Mahru Madjidi <mmadjidi@shegerianlaw.com>
    Sent: Monday, December 13, 2021 12:26 PM
    To: Grodan, Alexander L. <alexander.grodan@morganlewis.com>; Fitzgerald, Barbara A.
    <barbara.fitzgerald@morganlewis.com>
    Cc: Johnson, Ethel J. <ethel.johnson@morganlewis.com>; Griselda Rodriguez
    <grodriguez@shegerianlaw.com>; Bohm, Jr., Kevin J <kevin.bohm@morganlewis.com>
    Subject: RE: McMillian v. Amazon

    [EXTERNAL EMAIL]
    Alex,
 Case 2:19-cv-02121-MWF-JC Document 132 Filed 03/08/22 Page 86 of 86 Page ID #:6973



1    McMILLIAN v. GOLDEN STATE FC, et al. USDC Case No. 2:19-cv-02121-MWF-JCx
2                                   PROOF OF SERVICE
3                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 145 South Spring
5    Street, Suite 400, Los Angeles, California 90012.
6         On March 8, 2022, I served the foregoing document, described as “PLAINTIFF
     MARCELLUS MCMILLIAN’S AMENDED OPPOSITION TO DEFENDANTS’
7    MOTION IN LIMINE NO. 1 TO EXCLUDE EVIDENCE OF OTHER
     TERMINATIONS DURING LEAVES OF ABSENCE” on all interested parties in this
8    action by placing true copies thereof in sealed envelopes, addressed as follows:
9    Barbara A. Fitzgerald, Esq.                   Ethel J. Johnson, Esq.
     Barbara.Fitzgerald@morganlewis.com            ethel.johnson@morganlewis.com
10   MORGAN, LEWIS & BOCKIUS LLP                   MORGAN, LEWIS & BOCKIUS LLP
     300 South Grand Avenue, 22nd Floor            One Market, Spear Street Tower
11   Los Angeles, California 90071                 San Francisco, California 94105
12   Alexander L. Grodan, Esq.
     Alexander.Grodan@morganlewis.com
13   MORGAN, LEWIS & BOCKIUS LLP
     600 Anton Boulevard, Suite 1800
14   Costa Mesa, California 92626
15         BY CM/ECF NOTICE OF ELECTRONIC FILING I electronically filed the
           document(s) with the Clerk of the Court by using the CM/ECF system. Participants
16         in the case who are registered CM/ECF users will be served by the CM/ECF system.
           Participants in the case who are not registered CM/ECF users will be served by mail
17         or by other means permitted by the court rules.
18         (FEDERAL) I declare that I am employed in the office of a member of the bar of
           this Court at whose direction the service was made. I declare, under penalty of
19         perjury under the laws of the United States of America, that the above is true and
           correct.
20
          Executed on March 8, 2022, at Los Angeles, California.
21

22

23                                               Jose Castro
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